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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 DONQUARION LEWIS; KE’AUJANAA
 SHEPHERD-FRIDAY; and K.B., by and
 through her parent and next friend H.B.,        Case No. 22-cv-00838-RJJ PJG

          Plaintiffs,                            Hon. ROBERT J. JONKER

      v.
 MICHIGAN DEPARTMENT OF                          MAG. PHILLIP J. GREEN
 EDUCATION,

          Defendant.


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